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JAMES CREAMER, )
Plaiotiff §
v. § Case No.: 1: 99-01274-Bre-P
CORRECTIONS CORPORATION OF §
AMERICA, et al., )
Defeodants §
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the
deadline to file a Motion to Cornpel is extended up to and including June 10, 2005 .

IT IS SO ORDERED.

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JUDGE

DATED; Li{ol£~l {0~5

 

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APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

 

1 certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gastoo Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

Apn'l 14, 2005.

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Honorable J. Breen
US DISTRICT COURT

